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      EXHIBIT 13
July 7, 2021 Letter from
S. Yothers to J. Waldrop
Re C.A. No. 620-CV-923
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                                                   July 7, 2021


VIA E-MAIL

Jonathan K. Waldrop, Esq.                                                          CONFIDENTIAL
Kasowitz Benson Torres LLP                                                         SUBJECT TO FRE 408
333 Twin Dolphin Drive, Suite 200
Redwood Shores, CA 94065

    Re:      WSOU Investments, LLC d/b/a Brazos Licensing and Development v. NEC Corp.,
             C.A. No. 6:20-cv-00923-ADA (W.D. Tex.)

Dear Jonathan:

       I write regarding WSOU’s assertion of U.S. Patent No. 7,577,103 (“the ’103 patent”) in
the above-captioned matter.

        WSOU’s May 10, 2021 infringement contentions identify the Accused Instrumentalities
as follows: “NEC Small Cell Solutions products and services supporting SON Technology,
including NEC Small Cell LTE Gateway, E-RAN SN-9000, and E-RAN RN-310; all past,
current and future NEC products and services that operate in the same or substantially similar
manner as the specifically identified products and services; and all past, current and future NEC
products and services that have the same or substantially similar features as the specifically
identified products and services.” NEC is not marketing nor selling in the U.S. the types of
products that WSOU accuses of infringement.

         The majority of the documents cited in WSOU’s infringement contentions (retrieved
from the Internet) come from Japan and Europe. While WSOU cites a single document
indicating that NEC completed some small cell testing in the U.S. in 2013, there have not been
ongoing sales. In fact, in the six years preceding the filing of WSOU’s complaint, only a single
U.S. sale of small cell gateway-related technology (which was for trial purposes) was made.
That transaction (in 2016) involved the sale of one E-RAN SN-9000 unit for $7,200 and eight
E-RAN RN-310 units for $11,200, i.e., a total of $18,400. There are no other U.S. sales related
to this technology and there are unlikely to be further sales in any time remaining on the term of
the ’103 patent.

        We expect you will agree that spending substantial resources to resolve a dispute over
this single sale would be inefficient – and not the best use of court resources. If WSOU is open




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Jonathan K. Waldrop, Esq.
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to eliminating this dispute from the five currently pending, we are available to discuss potential
resolution.

                                                  Sincerely,

                                                  /s/ Stuart W. Yothers

                                                  Stuart W. Yothers
